BankruptcyZOlZ 0|99|-20|2, New Hopc So!`\warc, Im:., ver. 4.6.8-782 ~ WQAY~VPNG""°

Case 12-46295-rfn11 Doc 2-2 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 1 of 4

B6B (Ofticial Form GB) (12/07)

ln re Latitude Solutions, Inc.
Debtor

SCHEDULE B - PERSONAL PROPERTY

Case No.

 

(If known)

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the eategories,
place an “x” in the appropriate position in the column labeled “None.” If` additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” lf` the debtor is an
individual or ajoint petition is tiled, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

lf the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
lf` the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. ll U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

 

 

 

 

 

 

§ >. CURREN'I` VALUE OF
'". *"' DEBTOR’S lNTEREST
N § lN PROPERTY.
TYPE OF PROPERTY O DESCRlPTlON AND LOCAT{ON 3_ WITHOUT
N OF PROPERTY § 0 DEDUCT|NG ANY
E m § sECuRED cLAlM
§ 0 OR EXEMPTlON
l. Cash on hand. X
2, Checking: savings or other financial l Bank account (#1207925806) 0_00
accounts, cemficz\tes of deposlt, or shares m
banks, savings and loan, thrift, building and loan, PNC Bank
and homestead associations, or credit unions, 1401 N Federal Hwy Suite 138W
h k h , ' . ’
ro erage ouses or cooperatives Boca Raton, FL 33432
Bank account (#5575006) 11,268. 14
Southwest Bank
2718 S Hulen St
Fort Worth, TX 76109
Bank account (#1200578308) 0.00
PNC Bank
1401 N Federal Hwy, Suite 138W
Boca Raton, FL 33432
3' 5'~'°“*“¥ d°P°§"" “'“" P“b"° "‘"'"i°$- Deposit with Securities and Exchange Commission 22,994.00
telephone companlcs, landlords, and others. ' . ‘ _
U.S. Securltles & Exchange Commlssion
CenterPoint Energy 325.00
PO Box 4671
l-louston, 'I`X 77210
Entergy Arkasas, Inc. 1,007.00

 

 

 

BankruptcyZUlZ Cl991-20|2. New Hope Soi\ware, lnc., ver. 4.6.8~782 - WQAY-VPNG""‘

BsB(Omchl‘$o§mlgé)A,(§Z§_/'?;rféio]dg_ DOC 2-2 Filed 11/09/12 Entered 11/09/12 19214211 Page 2 Of 4

In re Latitude Solutions, Inc.

 

 

 

 

Case No.
Debtor (If known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
§ >_ CURRENT VALUE Ol"
"'. DEBTOR’S lNTEREST
N § iN PRoPi~:RTY,
TVPE OF PROPERTY O DESCRIPTION AND LOCATlON _ WITHOUT
N OF PROPERTY § 8 DEDUCT[NG ANY
E g z SECURED CLAlM
g 0 OR EXEMPT]ON
=
PO Box 8101
Baton Rouge, LA 70891
Account no. 96439567
Entergy Arkansas, Inc. 1,007.00
PO Box 8101
Baton Rouge, LA 70891
Account no. 96439617
4. Houseliold goods and fumishings, including X
audio, video, and computer equipment.
5. Books. Pictures and other an objects, X
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.
6, Wearing apparel. X
7, Furs andjeweliy. X
8. Firearms and sports, photographic, sind other X
hobby equipment
_9- l“f=‘°$ts in i“S“m“°° P°'i°_i°§~ N*”_"¢ _ Key man insurance policies; term coverage; Debtor is 0.00
insurance company ot` each policy and itemize b f. .
surrender or refund value of cache ene lowry
10. Annuities. ltemize and name each issuer. X
ll. Interests in an education IRA ns defined iri X
26 U.S.C. § 530(b)(l) or under a qualitied Stalc
tuition plan as defined in 26 U.S.C. § 529(b)(l).
Give particulars (File separately the record(s) of
any such interest(s). ll U.S.C. § 521(c).)
12. lnterests in lRA, ERISA, Keogh, or other X
pension or profit sharing plans. Give particulars.
'3; 5‘°°*‘ and ""‘°'FS‘S "" i"°°'PP"“°d ‘*"d Stock in wholly-owned subsidiaries - see Attachment 400.00
unincorporated businesses ltemize. B 13
l4. lnterests in partnerships or joint ventures. X
ltemize.
15. Govemment and corporate bonds and other X
negotiable and non-negotiable instruments
'6~ A°°°““" '°°ci‘”‘u°~ Accounts receivable - see Attachment B- 16 87,894.71

 

 

 

 

 

 

 

BankruptcyZOlZ 01991-2012, New Hope Sohwarc, Inc., vcr. 4.6.8-782 - WQAY-VPNG"'“

B6B(Omcgpl§$mlgé)4(§g§7§-_ri&%il_ DOC 2-2 Filed 11/09/12 Entered 11/09/12 19214211 Page 3 Of 4

Latitude Solutions, Inc.
Debtor

ln re

Case No.

 

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

(lf known)

 

TYPE OF PROPERTV

tTJ'ZOZ

DESCRIPTION AND LOCA'I`lON
OF PROPERTY

HUSBAND, WlFF., .lO[NT
OR COMMUNITY

CURRENT VALUE OF
DEBTOR’S INTEREST
lN PROPERTY,
WITHOUT
DEDUCT[NG ANY
SECURED CLAIM
OR EXEMP'I`ION

 

17. Alimony. maintenancc, support, and
property settlement to which the debtor is or may
be cntitled. Give particulars

18. Other liquidated debts owing debtor
including tax refunds. Give particulars

19. Equitable or future interests, life estates, and
rights or powers exercisable for the benefit of the
debtor other than those listed in Schedule A -
Real Property.

20. Contingent and noncontingent interests in
estate or a decedent, death benefit plan, life
insurance policy, or trtist.

21. Other contingent and unliquidated claims of
every nature. including tax refunds,
counterclaims of` the debtor, and rights of setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other intellectual
property. Give particulars

23. Licenses, franchises, and other general
intangibles Give particularsl

24. Customer lists or other compilations
containing personally identifiable information (as
defined in ll U.S.C. §101(41A)) provided to the
debtor by individuals in connection with
obtaining a product or service from the debtor
primarily for personal, family, or household
purposes.

25. Automobiles, trucks, trailers, and other
vehicles and accessories

26. Boats, motors, and accessories
27. AircraR and accessories

28. Office equipment, fumishings, and supplies.

29. Macliinery, fixtures, equipment, and
supplies used in business

30. Inventory.

 

 

 

Counterclaim against lP Automation - breach of contract

Various patents and other intellectual property - see
Attachment B-22

Solidworks license agreement

Trucks and trailer - see Attachment B-25

Miscellaneous computer equipment and other office
equipment - see Attachment B-28

Lab equipment, 16 water remediation units, and 210
reaction chambers

various locations

lnventory - see Attachment B-30

 

Unknown

Unknown

30,000.00

445,553.00

12,161.00

127,069.00

390,000.00

 

 

 

BankmptcyZOlZ 0199|-20|2, New Hopc Sof`lware, lnc., vet. 4.6.8-752 - WQAY-VFNG""'

363(Om(cji§l§eorH‘ZG-é%?z%§)-rf%%}tDoc 2-2 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 4 of 4

 

 

 

 

In re Latitude Solutions, Inc. Case No.
Debtor (lf known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
§ CURRENT VALUE OF
"‘. DEBTOR'S lNTEREST
N § iN PRoi'i-;RTY,
TYPE OF PROPERTY O DESCRIP'l`lON AND LOCATlON 3_ WITHOUT
N OF PROPERTY § 8 DEDUCTING ANY
E § x SECURED CLA[M
g 0 OR EXEMPTION
:
31. Animals. X
32. Crops - growing or harvested. Give X
particulars
33. Farming equipment and iinplements. X
34. Fami supplies, cliemicals, and feed. X
35~0'“°¥1’°'5°“=*1?'°9°“¥ °fa“¥ ki“d “°‘ Claims against former officers and directors - various Unknown
already listed. ltemize. .
causes of action under state and federal law
Claims against Bill Gilmore and Solucorp for selling Unknown
intellectual property without title
Claims against Peter Letizia and Bill Gilmore for breach Unknown
of contract and theft of trade secrets
Claims for professional malpractice against Mallah Unknown
Furrnan & Company, P.A.
Claims against Howard Appel, Virginia Dadey, and Unknown

 

 

 

Matthew Cohcn for securities fraud and related claims

 

 

continuation sheets attached Total

(Include amounts from any continuation

sheets attachcd. Report total also on
Summary of Schedules.)

 

 

$ 1,129,678.85

 

